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                     UNITED STATES DISTRICT COURT
            LSH,LERK    DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                      :     Hon. Susan D, Wigenton

               v.                              :     Crim. No. 15-569 (SDW)
 MARK ANDREOTrI,                              :      18 U.S.C.
     a/k/a “Mark Andreottis”
                                                                 §   1349, 1344, & 2
                                              :      26 U.S.C.   §   7201 & 7203


                       THIRD SUPERSEDING INDICTMENT

       The Grand Jury in and for the District of New Jersey, sitting at
                                                                        Newark,
 charges:

                                    COUNT 1
                       (Conspiracy to Commit Bank Fraud)

                                    Backround

       1.     At all times relevant to this Indictment:

       The Defendant and Co-Conspirator

              a.    Defendant MARK ANDREOYFJ (“defendant ANDREO’lTI”),

also known as “Mark Andreottis,” resided in or around Wyckoff,
                                                               New Jersey.
Defendant ANDREOy{] held himself out as a settlement and
                                                         title agent, was
the owner and President of multiple title insurance and
                                                        settlement agencies,
and maintained bank accounts in New Jersey and elsewhere.

             b.     Co-conspirator J.E. was a self-employed attorney who

resided and worked in or around Montvflle, New Jersey, and
                                                           maintained bank
accounts in New Jersey.
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                   c.    Metropolitan Title and Abstract, LLC (“Metropolitan”), was a

 title insurance and settlement agency located in or around Ruther
                                                                   ford, New
 Jersey. Defendant ANDREOTTI was the 99% owner and President
                                                             of
 Metropolitan.

               d.        New Horizon Settlement Services, LLC (“New Horizon”), was a

 title insurance and settlement agency located in or around Rutherford,
                                                                        New
 Jersey. Defendant ANDREOTH was the 99% owner and President
                                                            of New
 Horizon.

               e.        Metropolitan Insurance Holdings, LLC (“Metropolitan

 Holdings”) was the holding company for Metropolitan and New Horizo
                                                                   n and was
 located in or around Rutherford, New Jersey. Defendant ANDR
                                                             EOYI’I was the
 99% owner and President of Metropolitan Insurance Holdings.

              f.        Praetorian Investor Services, LLC (“Praetorian”) was a real

estate holding company located in Las Vegas, Nevada. Defendant
                                                               ANDREOTTI
was the Business Manager, Managing Member, and Registered Agent
                                                                for
Praetorian.

      The Victims

              g.        Victim Bank #1 was a financial institution, as defined in

Title 18, United States Code, Section 20, located in or around Param
                                                                    us, New
Jersey, and elsewhere.

              h.        Victim Bank #2 was a financial institution, as defined in

Title 18, United States Code, Section 20, located in or around Roano
                                                                     ke,
Virginia, and elsewhere.


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              i.    Victim Bank #3 was a mortgage lending business as defined

 in Title 18, United States Code, Section 27, and thus, a financi
                                                                  al institution as
 defined in Title 18, United States Code, Section 20, located in or
                                                                    around
 Morristown, New Jersey, and elsewhere.

       2.    From in or about March 2011 through in or about May2011, in

 Morris County, in the District of New Jersey, and elsewhere, the defend
                                                                         ant,

                              MARK ANDREOTFI,
                            a/k/a “Mark Andreottis,”

 did knowingly and intentionally conspire and agree with co-con
                                                               spirator J.E.
 and with others to execute and attempt to execute a scheme and
                                                                artifice to
 defraud a financial institution, namely Victim Bank #3, and
                                                             to obtain moneys,
 funds, credits, assets, securities, and other property owned
                                                              by, and under the
custody and control of Victim Bank #3, by means of materially
                                                              false and
fraudulent pretenses, representations, and promises, contrary
                                                              to Title 18,
United States Code, Section 1344.

                            Goal of the Conspiracy

      3.    It was the goal of the conspiracy for defendant ANDREOTTI and
                                                                          co
conspirator J.E. to profit unlawfully by fraudulently obtaining
                                                                a loan from
Victim Bank #3 under false pretenses and by using the loan
                                                           proceeds for their
own purposes.

                    Manner and Means of the Conspiracy

      4.    It was part of the conspiracy that in or about 2011, defendant

ANDREO’ITI and co-conspirator J.E. caused material misrepresenta
                                                                tions to be


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 made on a loan application and settlement documents submitted to Victim

 Bank #3 for a refinance mortgage (“Mortgage #3”) secured by J,E.’s personal

 residence in Montville, New Jersey (the “Montville Residence”).   Co-conspirator
 J.E. had purchased the Montvflle Residence with another individual

 (“Individual #1”) on or about October 1, 2003. On or about October 1, 2003,

 co-conspirator J.E. and Individual #1 had executed a mortgage with Victim

Bank #1 for the Montville Residence for approximately $405,000 (“Mortgage

 #1”). On or about April 6. 2005, co-conspirator J.E. had executed an open-

ended mortgage for an equity line of credit with Victim Bank #2 for the

Montville Residence for approximately $100,000 (“Mortgage #2”). An open-

ended mortgage is a loan with a maximum indebtedness, in this instance

approximately $100,000, that a borrower can draw on over time. The

purported purpose of Mortgage #3 was to refinance, and thereby pay off,

Mortgages #1 and #2.

      5.    It was further part of the conspiracy that defendant AND1EOTTI

and co-conspirator J.E. caused Metropolitan to serve as the settlement agent

for the closing of Mortgage #3.

      6.    It was further part of the conspiracy that on or about April 22,

2011, co-conspirator J.E. executed Mortgage #3 with Victim Bank #3 for

approximately $491,062, representing on loan documents that Mortgage #3

was for the purpose of refinancing Mortgages #1 and #2.

      7.    It was further part of the conspiracy that on or about April 27,

2011, defendant ANDREOTTI caused the funds from Mortgage #3 to be wired to


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 a bank account in the name of Metropolitan that he controlled (the

 “Metropolitan Account”).

       8.    It was further part of the conspiracy that on or about April 27,

 201 1, defendant ANDREOTTI and co-conspirator J,E. caused the majority of

 the funds from Mortgage #3 to be wired to a bank account in the name of New

 Horizon that defendant ANDREOTTI controlled (the “New Horizon Account”).

       9.    It was further part of the conspiracy that on or about April 27,

2011, defendant ANDREOTTI and co-conspirator J.E. caused the funds from

the New Horizon Account to be diverted to business accounts controlled by co

conspirator J.E. and to pay for other transactions unrelated to the refinancing

of Mortgages #1 and #2, contrary to co-conspirator J.E.’s representation on
                                                                            the
loan application and settlement documents for Mortgage #3.

      10.   It was lurther part of the conspiracy that defendant ANDREOTTI

and co-conspirator J.E. did not pay off the outstanding mortgages on the

Montville Residence—Mortgage #1 and Mortgage #2—so that the multiple

mortgages financed by Victim Banks #1 and #2 remained outstanding.

      11.   It was further part of the conspiracy that defendant AND REO’ll]

and co-conspirator J.E. failed to record Mortgage #3.

      12.   As a result of the conspiracy, co-conspirator J.E. eventually

defaulted on Mortgages #2 and #3,

     All in violation of Title 18, United States Code, Section 1349.




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                                       COUNT 2
                                     (Bank Fraud)

          1.    The allegations contained in paragraphs 1 and 4 through 12 of

 Count 1 above are incorporated and realleged as if set forth fully herein.

         2.     From in or about March2011 through in or about May2011, in

Morris County, in the District of New Jersey, and elsewhere, the defendant,

                                 MARK ANDREOTrI,
                               a/k/a “Mark Andreottis,”

knowingly and intentionally did execute and attempt to execute a scheme and

artifice to defraud a financial institution, namely, Victim Bank #3, and to

obtain moneys, funds, credits, assets, securities, and other property owned by,

and under the custody and control of, Victim Bank #3, by means of materially

false and fraudulent pretenses, representations, and promises, including on a

HUD- 1 form, loan application, and mortgage documents submitted to Victim

Bank #3 for the refinancing of the Montville Residence.

         All in violation of Title 18, United States Code, Section 1344 and Section

2.




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                                       COUNT 3
                                     (Bank Fraud)

        1.    The allegations contained in paragraph 1 of Count 1 above are

 incorporated and realleged as if set forth fully herein.

        2,    Victim Bank #4 was a financial institution, as defined in
                                                                        Title 18,
 United States Code, Section 20, located in or around Troy, Michig
                                                                   an. and
 elsewhere.

       3.     Victim Bank #5 was a mortgage lending business as defined
                                                                        in
 Title 18, United States Code, Section 27, and thus, a financi
                                                               al institution as
 defined in Title 18, United States Code, Section 20, located
                                                              in or around
 Lewisville, Texas, and elsewhere.

                             The Scheme to Defraud

       4.     In or about January 2010, in Bergen County, in the Distric
                                                                         t of New
Jersey, and elsewhere, defendant,

                              MARK ANDREOYI’I,
                            a/k/a “Mark Andreottis,”

knowingly and intentionally did execute and attempt to execut
                                                              e a scheme and
artifice to defraud a financial institution, namely Victim Bank
                                                                #5, and to obtain
moneys, funds, credits, assets, securities, and other property
                                                               owned by, and
under the custody and control of Victim Bank #5 by means
                                                         of materially false
and fraudulent pretenses, representations, and promises, which
                                                               scheme and
artifice was in substance as set forth herein.




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                        Goal of the Scheme to Defraud

       5.    The goal of the scheme and artifice to defraud was for defendant

 ANDREOTTI to enrich himself by obtaining a loan from Victim Bank #5 under

 false pretenses and by using those loan proceeds for his own purposes,

 although he represented in the loan application that he would use the proceeds

 to refinance a mortgage with Victim Bank #4.

                Manner and Means of the Scheme to Defraud

       6.   It was part of the scheme and artifice to defraud that, on or about

July 9, 2009, defendant ANDREO’TTI and another individual (“Individual #2”)

purchased a home located in Wyckoff, New Jersey (the “Wyckoff Residence”).

      7.    It was further part of the scheme and artifice to defraud that, on or

about July 24, 2009, defendant ANDREOTTI and Individual #2 executed a

mortgage with Victim Bank #4 for the Wyckoff Residence for approximately

$679,000 (“Mortgage #4”),

      8.    It was further part of the scheme and artifice to dcfraud that, on or

about January 22, 2010, defendant ANDREOTT’I executed a mortgage with

Victim Bank #5 for the Wyckoff Residence for approximately $625,000

(“Mortgage #5”), representing on loan documents that Mortgage #5 was for the

purpose of refinancing, and thereby paying off, Mortgage #4.

      9.    It was further part of the scheme and artifice to defraud that

defendant ANDREOTTI directed that the funds from Mortgage #5 be wired to

the Metropolitan Account.




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       10,   It was further part of the scheme and artifice to defraud
                                                                       that after
 the funds from Mortgage #5 were deposited into the
                                                    Metropolitan Account,
defendant ANDREOTT’J diverted the funds from the
                                                 Metropolitan Account to
pay for other transactions unrelated to the refinancing
                                                        of Mortgage #4, contrary
to the representations he made on the loan application
                                                       for Mortgage #5.
       11.   It was further part of the scheme and artifice to defraud
                                                                       that
defendant ANDREOTrI never recorded Mortgage #5.

       12.   As a result of defendant ANDREOTTI’s scheme and
                                                             artifice to
defraud, defendant ANDREOYFI defaulted on Mortgage #4
                                                      and Mortgage #5.
      All in violation of Title 18, United States Code,
                                                        Section 1344 and
Section 2.




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                                       COUNT 4
                                 (Evasion of Payment)

        1.    The allegations contained in paragraphs 1 and 4 through 12 of

 Count 1 and paragraphs 1 and 6 through 12 of Count 3 are incorporated and

 realleged as if set forth fully herein.

       2.     From at least as early as in or about September 2010, defendant

 ANDREOTfl received notice from the Internal Revenue Service (“IRS”) that he

 had income tax due and owing for calendar years 2005, 2006, 2007, and
                                                                       2008.
       3.     Thereafter, defendant ANDREOTTI undertook a series of acts to

 evade and defeat the payment of this income tax, including, but not limited to,

the following:

              a.    On or about April 23, 2011, defendant ANDREOTT’I

submitted an unsigned Form 433-A, Collection Information Statement for Wage

Earners and Self-Employed Individuals (“Form 433-A”), to the IRS, which was

false in material respects, in that it failed to report, among other things, income

he received from Metropolitan.

             b.     On or about April 8, 2012, defendant ANDREOYfl submitted

a signed Form 433-A, which was false in material respects in that it failed to

report, among other things, rental property income he had received.

             c,     In or about August 2012, defendant ANDREO’fl’I instructed

an employee, who performed administrative duties for Metropolitan, New

Horizon, Praetorian, and Metropolitan Holdings (“Employee #1”), to open an

account in name of Praetorian (the “Praetorian Account”). From in or about

September 2012 and through at least in or about March 2014, defendant

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ANDREO’TTI used the Praetorian Account to deposit checks and pay
                                                                 personal
 expenses.

       4.    In total, for calendar years 2005, 2006, 2007, and 2008, defendant

ANDREOTTI had a tax due and owing of approximately $428,0
                                                          24 that he
attempted to evade paying through these means.

      5.     From in or about January 2005 through in or about August 2012,

in the District of New Jersey and elsewhere, defendant,

                              MARK ANDREOYI’I,
                            a/k/a “Mark Andreottis,”

knowingly and willfully did attempt to evade and defeat a large part
                                                                     of the
income tax due and owing to the United States, for the calendar
                                                                years 2005,
2006, 2007, and 2008, by engaging in, among others, the affirma
                                                                tive acts of
evasion set forth in paragraph 3 of this Count.

      In violation of Title 26, United States Code, Section 7201.




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                                  COUNTS 5 and 6
                           (Failure to File a Tax Return)

       1.    The allegations contained in paragraphs 1 and 4 through 12 of

 Count 1, and paragraphs 1 arid 4 through 12 of Count 3, are incorporated and

realleged as if set forth fully herein.

       2,     During the calendar years 2010 and 2011, defendant

ANDREOTH had and received gross income of approximately $234,886 in 2010

and $285,030 in 2011, respectively.

      3.     Having received this income, defendant ANDREOTfi was required

by law, following the close of each calendar year, and on or before the filing

dates set forth below, to make an income tax return to the Internal Revenue

Service stating specifically the items of his gross income and any deductions

and credits to which he was entitled.

      4.    On or about the dates described below, in the District of New

Jersey and elsewhere, defendant,

                               MARK ANDREOITI,
                             a/k/a “Mark Andreottis,”

knowing and believing the foregoing facts, did knowingly and willfully fail to

make an income tax return to the Internal Revenue Service.

    Count            Calendar Year                    Filing Date
      5                  2010                       October 17, 2011
      6                  2011                       October 15, 2012


      In violation of Title 26, United States Code, Section 7203.




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             FORFEITURI ALLEGATION AS TO COUNTS 1 THROUGH 3

        1.     The allegations contained in all paragraphs of Counts 1 through
                                                                               3
 of this Superseding Indictment are hereby realleged and incorporated
                                                                      by
 reference for the purpose of noticing forfeitures pursuant to Title
                                                                     28, United
States Code, Section 2461(c).

       2.      The United States hereby gives notice to the defendant,

                               MARK ANDREO1TI,
                             a/k/a “Mark Andreottis,”

that, upon conviction of the offenses charged in Counts 1 through
                                                                  3, the
government will seek forfeiture, in accordance with Title 18, United
                                                                     States
Code, Section 982(a)(2), of any and all property, real or personal,
                                                                    that
constitutes or is derived from proceeds traceable to the violations of
                                                                       Title 18,
United States Code, Sections 1344 and 1349, alleged in Counts 1
                                                                through 3 of
this Superseding Indictment.

                        SUBSTITUTE ASSETS PROVISION

      3.      If by any act or omission of the defendant, any of the property

subject to forfeiture described herein:

      a. cannot be located upon the exercise of due diligence;

      b. has been transferred or sold to, or deposited with, a third party,

      c. has been placed beyond the jurisdiction of the court;

      d. has been substantially diminished in value; or

      e. has been commingled with other property which cannot be
                                                                 subdivided
      without difficulty,



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the United States of America will be entitled to
                                                 forfeiture of substitute property
up to the value of the property described above,
                                                 pursut to Title 21, United
States Code, Section 85 3 as incorpora by Title 28, United States Code,
                     (p),

Section 2461 (c).

                                           A TRUE BILL




                                           F°REPER



WILLjj E. FTTZpAmj
Acting United States Attorney




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   United States District Court
     District of New Jersey

  UNXTFD STATES OF AMERICA
                  V.
      MARK ANt)REOTTI,
    a/k/a “Mark Andreottis”

TRb SUPERSEDnG INDICTMENT
  CUARGIN VIOLATIONS OF

   18 U.S.C. § 1349, 1344 and 2;
    26 U.S.C. § 7201 and 7203

            A True Bill,




     WILLIAM E, FITZPATRICK
   AcTING UNrrEc STATES A’rropJvEy
        NEwARi; NEW JERSEY

         SFIANAW, CHEN
      AsslsrAivr US, An’orjviy
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